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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MISSOURI
                               EASTERN DIVISION

Juana Melgoza,
                                                     Case No. 4:08-CV-486-CAS
      Plaintiff,

v.                                                   STIPULATION OF DISMISSAL
                                                          WITH PREJUDICE
GC Services, Limited Partnership,

      Defendant.


         Now come the parties, by and through counsel, to hereby dismiss the present action with

prejudice pursuant to Fed. R. 41(a)(1)(A)(ii), with each party to pay its own attorneys’ fees and

costs.


RESPECTFULLY SUBMITTED,

Legal Helpers, P.C.                                  Hinshaw & Culbertson, LLP

By: /s/ Timothy J. Sostrin                           By: /s/ with consent of Ashley L. Narsutis
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Attorneys for Plaintiff                              Attorneys for Defendant




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                               CERTIFICATE OF SERVICE

         I hereby certify that on April 17, 2009, a copy of the foregoing Stipulation was

 filed electronically. Notice of this filing will be sent by operation of the Court’s

 electronic filing system to all parties indicated on the electronic filing receipt.



                                                             /s/ Timothy J. Sostrin




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